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             ®nitel) ^tate£( Court of appeals!                                           TEX,

                   for tl)e Jfiftf) Circuit
                                                                            FILED
                                                                      October 15, 2024
                                  No.24-50783
                             S. 2\-c^- «44-)^/^                         Lyie W. Cayce
                                                                              Clerk

  La Union del Pueblo Entero; Mexican American Bar
  Association of Texas; LULAC Texas; Texas Alliance for
  Retired Americans; Texas AFT; OCA-Greater Houston; League
  OF Women Voters of Texas,

                                                            Plaintiffs—Appelleesj

                                     versus



 Gregory W. Abbott, inhis official capacity as Governor ofTexas\ Warren K.
 Paxton, in his official capacity as Attorney General ofTexas\ State of Texas;
 Jane Nelson, in her official capacity as Texas Secretaty ofState,
                                                         Defendants—Appellants,


  OCA-Greater Houston; League of Women Voters of Texas,

                                                             Plaintiffs- Appellees,

                                     versus



  Ken Paxton, TexasAttomty General,

                                                           Defendant—Appellant,


 LULAC Texas; Texas Alliance for Retired Americans; Texas
  AFT,

                                                            Plaintiffs—Appellees,

                                     versus



 Ken Paxton, inhis official capacity as theTexas Ammey General,
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